Case 1:20-cv-00821-LMB-JFA          Document 1      Filed 07/21/20     Page 1 of 48 PageID# 1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION



 CHRISTIAN ALBERTO SANTOS GARCIA;
 SANTOS SALVADOR BOLANOS
 HERNANDEZ; GERSON AMILCAR PEREZ
 GARCIA; ISMAEL CASTILLO
 GUTIERREZ,

               Plaintiffs,

        v.

 CHAD F. WOLF, in his official capacity as
 Acting Secretary, U.S. Department of
 Homeland Security; U.S. IMMIGRATION
 AND CUSTOMS ENFORCEMENT;
 MATTHEW T. ALBENCE, in his official
 capacity as Deputy Director and Senior            Case No. _____________
 Official Performing the Duties of the Director
 of U.S. Immigration and Customs
 Enforcement; RUSSELL HOTT, in his official
 capacity as Field Office Director, Washington
 Field Office, Enforcement and Removal
 Operations, U.S. Immigration & Customs
 Enforcement; JEFFREY CRAWFORD, in his
 official capacity as Director, Farmville
 Detention Center; IMMIGRATION
 CENTERS OF AMERICA, LLC;
 ARMOR CORRECTIONAL HEALTH
 SERVICES, INC.,

               Defendants.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                      INTRODUCTION

        1.     A humanitarian crisis is rapidly unfolding at Farmville Detention Center. More

 than 80% of the civil immigration detainees housed there, including Plaintiffs, have contracted

 COVID-19—the highly contagious and potentially lethal virus that is sweeping the globe.
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20     Page 2 of 48 PageID# 2




 Defendants, who are collectively charged with caring for these individuals and who should have

 been working to protect them from the virus, have failed at every step, instead turning Farmville

 into a COVID-19 tinderbox that has engulfed nearly everyone in the facility, from Plaintiffs to

 hundreds of other detainees to dozens of staff members.

        2.      The first match was struck in early June 2020, when Defendants Wolf, U.S.

 Immigration and Customs Enforcement (“ICE”), Albence, and Hott (collectively, “the federal

 defendants”) transferred 74 detainees to Farmville from Florida and Arizona facilities—without

 prior testing—even though the federal defendants knew that those facilities were experiencing

 COVID-19 outbreaks, and despite the CDC’s recommendation against transfers unless medically

 necessary. Defendants Crawford, Immigration Centers of America, LLC (“ICA”), and Armor

 Correctional Health Services, Inc. (“Armor”) (collectively, “the Farmville defendants”) accepted

 the 74 transferees into their facility, even though they knew that they did not have the capacity to

 quarantine, isolate, or adequately screen them at intake. Fifty-one of the individuals who were

 transferred subsequently tested positive for COVID-19.

        3.      The virus then spread like wildfire throughout the facility: As of July 20, 2020, at

 least 315 detainees—or more than 80 percent of the overall detainee population—had tested

 positive for COVID-19. Plaintiffs Santos Garcia, Perez Garcia, and Castillo Gutierrez have all

 tested positive for COVID-19, while Plaintiff Salvador Bolanos is still waiting for his test results

 weeks after he was tested.

        4.      The distressingly high number is as unfortunate as it is unsurprising. Defendants

 did not take, and have not taken, appropriate precautions to protect the individuals inside

 Farmville. Defendants have packed up to 80 individuals in poorly ventilated dorm rooms, making

 them sleep inches from one another—the opposite of appropriate social distancing and a recipe for




                                                  2
Case 1:20-cv-00821-LMB-JFA            Document 1        Filed 07/21/20       Page 3 of 48 PageID# 3




 uncontrollable spread of the virus. Defendants have not provided Plaintiffs with sufficient

 personal protective equipment (“PPE”), like masks and hand sanitizer. And although Plaintiffs

 exhibited the hallmark symptoms of COVID-19 shortly after Defendants transferred

 COVID-19 positive individuals into the Farmville facility—fever, aches, pains, coughing,

 breathing issues—Defendants waited several days to test them for COVID-19, and several

 additional days to inform them that they had tested positive.

        5.      Defendants’ failures on the front end were replicated on the back end. Plaintiffs

 were all denied any medical treatment for multiple days after they started showing symptoms of

 COVID-19. Their requests for doctor’s visits fell on deaf ears. Once they started to receive

 treatment, three of the Plaintiffs only ever received Tylenol. Plaintiff Perez Garcia eventually

 became so sick that he was placed into isolation, and even then he received only Tylenol and a few

 pills for his cough. Three of the Plaintiffs (all but Perez Garcia) remained in their dorms while

 awaiting their test results and while continuing to exhibit symptoms of COVID-19.

        6.      In addition, for the past several weeks, including while Plaintiffs have suffered from

 COVID-19, they have also been denied adequate nutrition. The Farmville defendants served them

 expired food, uncooked or undercooked food, and food infested with bugs.

        7.      Defendants’ actions have jeopardized Plaintiffs’ lives, health, and recovery. They

 have violated Plaintiffs’ right to Due Process under the Fifth and Fourteenth Amendments to the

 United States Constitution, which guarantees persons in civil immigration detention the right to

 reasonable safety and to be free from punitive conditions of confinement. Defendants have

 violated this right by acting with deliberate indifference with regard to Plaintiffs’ medical care and

 nutrition, which has subjected Plaintiffs to objectively unreasonable risks to their health and safety,

 to cruel treatment, and to conditions of confinement that amount to punishment.




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Case 1:20-cv-00821-LMB-JFA             Document 1        Filed 07/21/20       Page 4 of 48 PageID# 4




         8.      The federal defendants’ actions have also violated the Administrative Procedure Act

 (“APA”). Defendants have failed to live up to their own binding standards for providing medical

 treatment and food services to detainees. They have additionally failed to follow the Centers for

 Disease Control and Prevention’s (“CDC”) guidance on managing the COVID-19 pandemic—

 including stopping transfers unless absolutely necessary and providing appropriate testing,

 prevention techniques, and treatment—even though their binding standards require them to follow

 CDC guidance.

         9.      Instead of solving the constitutional and statutory violations at Farmville,

 Defendants are poised to repeat them. The federal defendants are now threatening to transfer

 Plaintiffs—while they are still recovering from COVID-19 and likely remain COVID-19 positive—

 to a facility in Texas. Such a transfer would seriously endanger the health of Plaintiffs and the public.

         10.     Plaintiffs seek to improve the inhumane conditions present at Farmville. They ask

 that the Court declare that their constitutional rights have been violated and that the federal

 defendants violated the APA. They further ask the Court to issue an injunction ordering a third-party

 inspection of Farmville’s COVID-19 prevention and mitigation efforts, medical care plan, and food

 supply and preparation regimen, and ordering Farmville to comply with CDC guidelines and

 recommendations for prevention and control of infectious diseases, including as they relate to

 transfers and social-distancing. Plaintiffs ask the Court to retain jurisdiction over Defendants to

 monitor compliance with the Court’s order.

                                               PARTIES

         11.     Plaintiff Christian Alberto Santos Garcia is a 23-year-old citizen of El Salvador.

 He is being held in the custody of Defendant ICE at Farmville Detention Center, which is

 controlled and operated by the private company and Defendant ICA in Farmville, Virginia. An

 Immigration Judge granted Plaintiff Santos Garcia withholding of removal and relief under the


                                                    4
Case 1:20-cv-00821-LMB-JFA            Document 1         Filed 07/21/20     Page 5 of 48 PageID# 5




 Convention Against Torture in December 2019. He is being held in custody pending the outcome

 of the Department of Homeland Security’s (“DHS”) appeal of that decision to the Board of

 Immigration Appeals.

        12.     Plaintiff Santos Salvador Bolanos Hernandez is a 35-year-old citizen of El

 Salvador. An Immigration Judge granted Plaintiff Bolanos Hernandez withholding of removal in

 April 2020. He is being held in the custody of Defendant ICE at Farmville Detention Center

 pending the outcome of DHS’s appeal of that decision to the Board of Immigration Appeals.

        13.     Plaintiff Gerson Amilcar Perez Garcia is a 27-year old citizen of Honduras. He is

 being held in the custody of Defendant ICE at Farmville Detention Center pending his hearing in

 immigration court.

        14.     Plaintiff Ismael Castillo Gutierrez is a 43-year old noncitizen from Honduras. He

 is being held in the custody of Defendant ICE at Farmville Detention Center pending his hearing

 in immigration court.

        15.     Defendant Chad F. Wolf is named in his official capacity as Acting Secretary of

 DHS. In his official capacity, Defendant Wolf is responsible for administering the immigration

 laws pursuant to 8 U.S.C. § 1103(a); routinely transacts business in the Eastern District of Virginia;

 supervises Defendant Russell Hott; and is legally responsible for the pursuit of the detention and

 removal of foreign nationals. As such, he is a legal custodian of Plaintiffs.

        16.     Defendant U.S. Immigration and Customs Enforcement (“ICE”) is a federal law

 enforcement agency within DHS. ICE is responsible for the criminal and civil enforcement of

 immigration laws, including the detention and removal of immigrants. Enforcement and Removal

 Operations, a division of ICE, manages and oversees the immigration detention system. As such,

 Defendant ICE is a legal custodian of Plaintiffs.




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Case 1:20-cv-00821-LMB-JFA             Document 1      Filed 07/21/20      Page 6 of 48 PageID# 6




         17.     Defendant Matthew T. Albence is named in his official capacity as Deputy Director

 and Senior Official Performing the Duties of the Director of ICE. In this capacity, he is responsible

 for the enforcement of immigration laws and for ICE’s policies, practices, and procedures. He has

 authority over the detention and removal of noncitizens throughout the United States. As such, he

 is a legal custodian of Plaintiffs.

         18.     Defendant Russell Hott is named in his official capacity as Director, Washington

 Field Office of ICE. The Washington Field Office is responsible for, among other things, carrying

 out ICE’s immigration detention operations at Farmville Detention Center, and Defendant Hott is

 responsible for administering the immigration laws and the execution of detention and removal

 determinations for individuals under the jurisdiction of the Washington Field Office. As such, he

 is a legal custodian of Plaintiffs.

         19.     Defendant Jeffrey Crawford is named in his official capacity as the Director of

 Farmville Detention Center. Defendant Crawford is responsible for overseeing the administration

 and management of Farmville Detention Center. In this capacity, he is the immediate custodian

 of Plaintiffs. Defendant Crawford was at all times relevant to this complaint an employee and

 agent of Defendant ICA.

         20.     Defendant Immigration Centers of America, LLC (“ICA”) is a limited liability

 corporation that owns and operates Farmville Detention Center. Its principal place of business is

 located at 508 Waterworks Road in Farmville, Virginia 23901-2674, and it is registered as a limited

 liability corporation under the laws of the Commonwealth of Virginia. Defendant ICA contracted

 with the Town of Farmville for the operation of Farmville Detention Center. 1



  1
      In 2008, Defendant ICE entered into an Intergovernmental Service Agreement (“IGSA”) with
      the Town of Farmville “for the detention and care of aliens.” Exhibit E at 1. In exchange for
      payment on a per-detainee per-diem basis, the Town of Farmville ensures the daily operation


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Case 1:20-cv-00821-LMB-JFA          Document 1       Filed 07/21/20     Page 7 of 48 PageID# 7




        21.    Defendant Armor Correctional Health Services, Inc. (“Armor”) is a Florida

 corporation that contracts with Defendant ICA to provide health care services to detainees at

 Farmville Detention Center. Its principal place of business is located at 4960 S.W. 72nd Ave.

 Suite 400, Miami, Florida 33155. Defendant Armor was at all times relevant to this complaint an

 agent of Defendant ICA.

        22.    Defendants Crawford, ICA, Armor, and their officers and employees were at all

 times relevant to this complaint acting under color of state law as an agent of the Town of

 Farmville. In the alternative, Defendants Crawford, ICA, Armor, and their officers and employees

 were at all times relevant to this complaint acting under color of federal law as an agent of

 Defendant ICE.

                                JURISDICTION AND VENUE

        23.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

 this action arises under the Constitution and the laws of the United States and, as to Defendants

 Crawford, ICA, and Armor, under 42 U.S.C. § 1983.

        24.    This Court has the authority to grant declaratory and injunctive relief pursuant to

 28 U.S.C. §§ 2201–2202 and 28 U.S.C. § 1651.



    of the detention center. The IGSA requires the Town of Farmville to, among other things,
    “house all detainees as determined within [Farmville’s] classification system,” “provide
    detainees with safekeeping, housing, subsistence, medical and other services [and] ensure
    compliance with all applicable laws, regulations, fire and safety codes, policies and
    procedure,” and “house detainees and perform related detention services in accordance with
    the most current edition of the ICE National Detention Standards.” Id. at 3, 6. The Town of
    Farmville, in turn, subcontracted for the operation of the facility to a private for-profit
    company, Defendant ICA. The Town of Farmville is required under the IGSA to notify and
    obtain approval of ICE for any subcontractor hired to carry out its responsibilities under the
    IGSA and ensure that “any subcontractor includes all provisions of [the IGSA].” Id. at 2.
    Upon information and belief, the Town of Farmville obtained the requisite approval and
    executed an agreement with Defendant ICA for the operation of Farmville Detention Center,
    which remains valid today.


                                                7
Case 1:20-cv-00821-LMB-JFA             Document 1        Filed 07/21/20       Page 8 of 48 PageID# 8




         25.     Venue is proper in this district under 28 U.S.C. § 1391, and in this division under

 Local Civil Rule 3(C), because a defendant is an agency of the United States or an officer or

 employee of the United States or any agency thereof acting in his official capacity, a defendant

 resides in this district, and a substantial part of the events giving rise to the claims occurred in this

 district. Defendant Hott oversees the Washington Field Office of ICE Enforcement and Removal

 Operations, which manages the contract for detentions at the Farmville Detention Center, and his

 principal place of business is located in Fairfax, Virginia.

                      EXHAUSTION OF ADMINISTRATIVE REMEDIES

         26.     No statutory exhaustion requirement applies to Plaintiffs’ claims of unlawful

 detention because no administrative agency exists to adjudicate Plaintiffs’ constitutional

 challenges.

         27.     Similarly, no exhaustion requirement applies to Plaintiffs’ APA claim because

 Plaintiffs allege that the agency acted unlawfully.

         28.     The Prison Litigation Reform Act, 42 U.S.C. § 1997e, does not apply to Plaintiffs

 because they are not “prisoner[s]” as defined in that statute. See 42 U.S.C. § 1997e(h) (“[T]he

 term ‘prisoner’ means any person incarcerated or detained in any facility who is accused of,

 convicted of, sentenced for or adjudicated delinquent for violations of criminal law . . . .”); see

 also Agyeman v. INS, 296 F.3d 871, 886 (9th Cir. 2002) (“[W]e hold that an alien detained by the

 INS pending deportation is not a ‘prisoner’ within the meaning of the PLRA”); LaFontant v.

 INS, 135 F.3d 158, 165 (D.C. Cir. 19888) (same); Ojo v. INS, 106 F.3d 680, 683 (5th Cir.

 1997) (same). Accordingly, Plaintiffs were not required to exhaust administrative remedies by

 filing grievances.




                                                    8
Case 1:20-cv-00821-LMB-JFA           Document 1       Filed 07/21/20      Page 9 of 48 PageID# 9




                                   STATEMENT OF FACTS

   I.   COVID-19 POSES A GRAVE RISK OF HARM TO PLAINTIFFS

        29.     COVID-19 is a highly contagious coronavirus disease that has reached pandemic

 status. As of July 21, 2020, more than 3.7 million people in the United States have tested positive

 for the virus, and more than 140,000 have died. 2 Those numbers are growing exponentially, with

 more than 63,000 new cases in the United States on July 19 alone. 3 The Commonwealth of

 Virginia has had more than 78,000 cases, 7,200 hospitalizations, and 2,000 deaths. 4

        30.     SARS-CoV-2, which causes the COVID-19 illness, is easily transmitted. Everyone

 shares a risk of contracting the COVID-19 virus, and everyone who contracts it shares a risk of

 transmitting the virus to other people. The most likely means of transmitting the coronavirus that

 causes COVID-19 is through close human-to-human contact, especially indoors. That is because

 the virus that causes COVID-19 mainly spreads through respiratory droplets produced when an

 infected person coughs, sneezes, or talks. Emerging research indicates that the virus is easily

 transmitted in indoor spaces where too many people are enclosed for protracted periods.

        31.     Symptoms of COVID-19 include fever, cough, shortness of breath, headache, body

 aches, loss of taste and smell, nausea, and diarrhea. 5 People can carry and spread the virus even

 if they are asymptomatic or pre-symptomatic, although precisely how the virus spreads remains

 unknown. Testing or secluding only those who are symptomatic is therefore an ineffective solution

 to preventing further spread of COVID-19.



  2
    CDC, Coronavirus Disease 2019 (COVID-19): Cases in the U.S. (last visited July 20, 2020),
    https://bit.ly/2SyyE6k.
  3
    Id.
  4
    Va. Dep’t of Health, COVID-19 Daily Dashboard (last visited July 20, 2020),
    https://www.vdh.virginia.gov/coronavirus/covid-19-daily-dashboard/.
  5
    CDC, Coronavirus Disease 2019 (COVID-19): Symptoms of Coronavirus (last visited July 20,
    2020), https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html.


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Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20    Page 10 of 48 PageID# 10




         32.     There is no known vaccine against COVID-19 and no known medication to prevent

  infection. The most effective measures to reduce the risk of contracting and spreading COVID-19

  is to prevent infection and avoid community spread. Such measures include avoiding close contact

  with other people by practicing appropriate social distancing, washing hands often, covering one’s

  mouth and nose with cloth, and vigorously cleaning and disinfecting touched surfaces.

         33.     Contracting COVID-19 may cause serious and lasting health damage. People who

  have COVID-19 can die. Infected individuals who survive may face severe damage to their

  respiratory system, neurological system, and lungs, heart, liver, or other organs, resulting in

  prolonged recovery periods and permanent damage. These complications can manifest in as little

  as two days after exposure. Infected individuals’ conditions can seriously deteriorate within days,

  and recovery can take weeks if not months.

         34.     Even younger and healthier individuals who contract COVID-19 may require

  supportive care. And those who develop serious complications will need advanced support,

  including highly specialized equipment that is in limited supply, and an entire team of care

  providers, including 1:1 or 1:2 nurse-to-patient ratios, respiratory therapists, and intensive care

  physicians.

   II.   DEFENDANTS HAVE FAILED TO TAKE SUFFICIENT PRECAUTIONS TO PREVENT THE
         SPREAD OF COVID-19 AT FARMVILLE

         35.     On March 11, 2020, the World Health Organization (“WHO”) classified the spread

  of COVID-19 as a pandemic. 6 On March 13, 2020, President Trump declared the COVID-19

  outbreak a national emergency under the National Emergencies Act, 50 U.S.C. § 1601 et seq. 7



   6
     World Health Org., WHO Characterizes COVID-19 as a Pandemic (Mar. 11, 2020),
     https://bit.ly/2W8dwpS.
   7
     White House, Proclamation on Declaring a National Emergency Concerning the Novel
     Coronavirus Disease (COVID-19) Outbreak (Mar. 13, 2020), https://bit.ly/39m4CtK.


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Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20     Page 11 of 48 PageID# 11




         36.     On March 16, 2020, the CDC and members of the national Coronavirus Task Force

  issued guidance advising people to adopt physical distancing measures, such as working from

  home, avoiding gatherings of more than 10 people, and limiting trips to grocery stores, bars,

  restaurants, and other areas where people share space.

         37.     Following this advice, many states—including Virginia—shut down some or all

  parts of ordinary life, issuing orders suspending or severely curtailing the operation of non-

  essential schools, businesses, and other public spaces, limiting gatherings, and ordering citizens to

  take precautions such as wearing face masks. 8

         38.     To combat the disease, and to halt its advance, the White House and the CDC have

  urged people in the United States to take basic preventive actions, such as avoiding crowds or large

  groups, staying six feet away from others, keeping surfaces disinfected, and frequently washing

  hands or using hand sanitizer. 9

         39.     The CDC has also issued guidance specific to managing COVID-19 in detention

  facilities. 10 The CDC has recognized that “[m]any opportunities exist for SARS-CoV-2 to be

  introduced into a correctional or detention facility, including daily staff movements” and “transfer

  of incarcerated/detained persons between facilities and systems.” 11 Detained individuals “often

  come from a variety of locations, increasing the potential to introduce SARS-CoV-2 from different




   8
     See, e.g., Order of the Governor and State Health Commissioner, Declaration of Public Health
     Emergency (Mar. 17, 2020), https://bit.ly/32ozJDq.
   9
     See Sheri Fink, White House Takes New Line After Dire Report on Death Toll, N.Y. Times
     (Mar. 17, 2020), https://nyti.ms/3dl2yD4; CDC, Coronavirus Disease 2019 (COVID-19):
     Clinical Questions About COVID-19: Questions and Answers (last updated June 17, 2020),
     https://bit.ly/2y6X6Eh; CDC, Coronavirus Disease 2019 (COVID-19): Social Distancing (last
     updated July 15, 2020), https://bit.ly/2N4b5PF.
  10
     CDC, Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
     Correctional and Detention Facilities (last updated July 14, 2020), https://bit.ly/2Bkd6F8.
  11
     Id.


                                                   11
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20     Page 12 of 48 PageID# 12




  geographic areas.” 12    And the “ability of incarcerated/detained persons to exercise disease

  prevention measures (e.g., frequent hand washing) may be limited.” 13 “Social distancing options

  within correctional and detention settings may be limited due to crowded living conditions.” 14

         40.     Because individuals in detention facilities face acute risks of contracting

  COVID-19, the CDC has instructed such facilities to “[l]imit transfers of incarcerated/detained

  persons to and from other jurisdictions and facilities unless necessary for medical evaluation,

  medical isolation/quarantine, clinical care, extenuating security concerns, release, or to prevent

  overcrowding.” 15 To that end, the U.S. Bureau of Prisons stopped nearly all transfers among its

  facilities in March 2020. 16

         41.     The CDC has also instructed facilities to “[e]nsure that sufficient stocks of hygiene

  supplies, cleaning supplies, PPE, and medical supplies (consistent with the healthcare capabilities

  of the facility) are on hand and available and have a plan in place to restock as needed.” 17 The

  CDC has further instructed facilities to “[i]mplement social distancing strategies to increase the

  physical space between incarcerated/detained persons (ideally 6 feet between all individuals,

  regardless of symptoms), and to minimize mixing of individuals from different housing units.” 18




  12
     Id.
  13
     Id.
  14
     Id.
  15
     Id.; see also Exhibit F, Decl. of Dr. Homer D. Venters, MD Regarding COVID-19 Inspection
     of Farmville Detention Center (“Venters Decl.”) ¶ 10 .
  16
     Fed. Bureau of Prisons, Updates to BOP COVID-19 Action Plan (last updated Mar. 19, 2020),
     https://www.bop.gov/resources/news/20200319_covid19_update.jsp.
  17
     CDC, Interim Guidance on Management of Coronavirus Disease 2019, supra note 10.
  18
     Id.; see also Venters Decl. ¶ 10 (explaining that recent CDC guidelines have explained that
     social distancing “is not simply a concept that detained people should follow, but reflects an
     infection control approach that individuals, groups and the facility operations must implement
     together”).


                                                  12
Case 1:20-cv-00821-LMB-JFA            Document 1        Filed 07/21/20      Page 13 of 48 PageID# 13




         42.     ICE has published Performance-Based National Detention Standards (“PBNDS”)

  that establish mandatory policies and practices relating to medical care and nutrition that facilities

  and operators of facilities must follow. 19 As relevant here, the PBNDS provide that CDC

  “guidelines for the prevention and control of infectious and communicable diseases shall be

  followed.” The PBNDS also provide “Medical Care” standards that require facilities to ensure

  that detainees have access to a continuum of health care services, including screening, prevention,

  health education, diagnosis and treatment. Among other requirements, the PBNDS require that

  facilities have a plan that addresses the management of infectious diseases, including screening,

  prevention, education, identification, monitoring and surveillance, immunization, treatment,

  follow-up, isolation and reporting to local, state and federal agencies; a requirement that 24-hour

  emergency medical services be available to all detainees; and a requirement that the facility comply

  with current and future plans implemented by federal, state, or local authorities addressing specific

  public health issues including communicable disease reporting requirements. Finally, the PBNDS

  provide “Food Service” standards, which require that food “shall meet federal standards for

  quality,” “shall be protected from dust, insects and rodents,” and shall maintain a “high level of

  sanitation.”

         43.     As a highly contagious infectious disease, COVID-19 has proven particularly

  pernicious in enclosed, high-density environments like detention and correctional facilities, which

  have become “hotbeds for the virus.” 20 Indeed, in mid-June, when the United States’ overall

  infection rate remained relatively constant, new infections in prisons and jails “soared,” doubling




  19
     ICE, Performance-Based National Detention Standards (2011),
     https://www.ice.gov/doclib/detention-standards/2011/pbnds2011r2016.pdf.
  20
     Tammy La Gorce, ‘Everybody Was Sick’: Inside an ICE Detention Facility, N.Y. Times (May
     15, 2020), https://nyti.ms/2UUqF4F.


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Case 1:20-cv-00821-LMB-JFA             Document 1           Filed 07/21/20   Page 14 of 48 PageID# 14




  since mid-May to more than 68,000, with coronavirus-related deaths also rising by 73 percent

  since that time. 21 According to media sources, the five largest known clusters of the virus in the

  United States are in correctional institutions. 22

          44.     ICE facilities fare no better than prisons and jails. As of July 20, 2020, ICE reported

  that more than 3,600 individuals in its custody have tested positive for the virus. 23

          45.     Three individuals detained in ICE facilities have died in ICE custody because of

  COVID-19 complications. 24

          46.     Farmville is no exception: as of July 20, 2020, at least 315 detainees—or more than

  80 percent of the overall detainee population at the facility—had tested positive for COVID-19. 25

  That Farmville has emerged as a COVID-19 hotspot is hardly surprising in light of reports of

  abysmal conditions at the facility. 26




  21
     Timothy Williams et al., Coronavirus Cases Rise Sharply in Prisons Even as They Plateau
     Nationwide, N.Y. Times (June 16, 2020), https://nyti.ms/3fwXKeT.
  22
     See id.; see also Laura Hawks et al., COVID-19 in Prisons and Jails in the United States,
     JAMA Internal Medicine (Apr. 28, 2020), https://bit.ly/3jpUncg (noting that “[p]rior viral
     epidemics have wrought havoc in carceral settings” because the “infrastructure of most prisons
     and jails is . . . conducive to spreading disease” and thus “people who are incarcerated will be
     at higher risk of exposure”).
  23
     See ICE, ICE Guidance on COVID-19: ICE Detainee Statistics, https://bit.ly/2YB9BBS (last
     visited July 20, 2020).
  24
     Id.; Camilo Montoya-Galvez, Third Immigrant Detained by ICE Dies After Contracting the
     Coronavirus, CBS News (July 13, 2020), https://cbsn.ws/2DLiTEl.
  25
     ICE, ICE Guidance on COVID-19: ICE Detainee Statistics, supra note 23; see also Letter from
     Sens. Warner and Kaine to Acting Sec’y Wolf and Acting Director Albence (July 16, 2020),
     https://bit.ly/3h23SMW; Exhibit G, Decl. of Jeffrey Crawford (“Crawford Decl.”), Lizama
     Gutierrez v. Hott et al., No. 1:20-cv-712-LMB-IDD (E.D. Va. July 9, 2020), ECF No. 13-1,
     ¶¶ 44–45; Jenny Gathright, More Than 70% of People Detained at the Farmville Detention
     Center Are COVID Positive, DCist (July 10, 2020), https://bit.ly/3fYpZUx.
  26
     See, e.g., Priscilla Alvarez, Immigrant Detainees Describe Deteriorating Conditions as
     Coronavirus Spreads in Facilities, CNN (June 27, 2020), https://cnn.it/3eXYM3x
     (highlighting alarming conditions at Farmville Detention Center); Jenny Gathright, After
     Transfers from Coronavirus Hotspots, Cases Spike at Farmville ICE Detention Facility, DCist
     (June 29, 2020), https://bit.ly/3gncDkf (same).


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Case 1:20-cv-00821-LMB-JFA            Document 1        Filed 07/21/20      Page 15 of 48 PageID# 15




         47.     Public health officials have long warned that prisons, jails, and detention facilities

  like Farmville were positioned to “become vectors in the pandemic because they are often

  overcrowded, unsanitary places where social distancing is impractical, bathrooms and day rooms

  are shared by hundreds of [people], and access to cleaning supplies is tightly controlled.” 27 Indeed,

  individuals who are incarcerated or detained have limited ability to take the precautionary steps

  that public health officials recommend as a means to guard against infection and spread, such as

  social distancing, mask wearing, and use of adequate ventilation. They also have no control over

  the movements of others with whom they live in close proximity, and share spaces and resources.

         48.     The design and operation of detention facilities, including Farmville, make it

  extremely difficult or impossible for those detained inside to engage in these and other

  prophylactic measures. If anything, facilities like Farmville that house pre-trial detainees are at a

  particularly high risk for contagion because of substantial turnover among the population inside.

         49.     The federal defendants have exacerbated this risk by transferring detainees among

  facilities, including from facilities with active COVID-19 cases. Further, this practice persisted at

  Farmville despite Defendant Crawford’s request—supported by Farmville’s Medical Director and

  Defendant Armor—to Defendant ICE, on or about April 1, 2020, that ICE cease transfers to the

  Farmville facility. 28 The federal defendants’ decision to transfer detainees among facilities

  contradicted CDC’s guidance that all transfers should be suspended absent narrow, compelling

  reasons such as medical necessity. 29




  27
     See Williams et al., supra note 21.
  28
     Crawford Decl. ¶ 19; Exhibit H, Decl. of Teresa Moore, MD (“Moore Decl.”), Lizama
     Gutierrez v. Holt et al., No. 1:20-cv-712-LMB-IDD (E.D. Va. July 9, 2020), ECF No. 13-2,
     ¶ 13.
  29
     CDC, Interim Guidance on Management of Coronavirus Disease 2019, supra note 10.


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Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20    Page 16 of 48 PageID# 16




             50.   In April 2020, in response to Defendant Crawford’s request to “eliminate further

  intakes to Farmville,” the federal defendants proposed to institute a policy whereby transferees to

  Farmville Detention Center would be quarantined in individual cells in a facility in Caroline

  County, Virginia before ultimately being transferred to Farmville. Farmville’s Medical Director

  and Defendant Armor agreed to this policy, which was “approved and implemented” on April 17,

  2020. 30

             51.   On June 2, 2020, the federal defendants transferred 74 detainees from detention

  facilities in Florida and Arizona to Farmville. They did so knowing that there were COVID-19

  cases at the Florida facility from which some of the transferred detainees came. 31 The federal

  defendants also knew or should have known that detainees in ICE’s Arizona detention facilities

  had tested positive for COVID-19. 32 Nevertheless, the federal defendants did not test transferees

  for COVID prior to initiating the transfer. In conducting this transfer, the federal defendants did

  not follow CDC guidelines.

             52.   Defendant Crawford and the Farmville defendants accepted the incoming

  detainees, despite knowing they did not have the capacity to isolate, quarantine, and properly

  screen them for COVID-19.         In accepting this transfer, the Farmville defendants violated

  Farmville’s own policy: The incoming detainees were not quarantined at the facility in Caroline

  County, Virginia because that facility “could not accommodate such a large group”; instead, they




  30
     Crawford Decl. ¶ 19.
  31
     Id. ¶ 28.
  32
     See, e.g., Daniel Gonzalez, COVID-19 Outbreak at ICE Detention Center in Eloy Has
     Ballooned into One of the Largest in the Nation, Arizona Republic (May 31, 2020),
     https://bit.ly/2WshDwF (noting that “[a]t least 76” individuals detained at the Eloy, Arizona
     detention facility “had tested positive” and that it was the “sixth largest coronavirus outbreak
     at an immigration detention facility in the country”).


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Case 1:20-cv-00821-LMB-JFA            Document 1         Filed 07/21/20      Page 17 of 48 PageID# 17




  were taken directly to Farmville. 33 Defendant Crawford acknowledged that he had the contractual

  authority to reject the transferees, but he chose not to do so, even though he knew that by accepting

  them he was violating the principal infection control mechanism at Farmville. 34

          53.     Upon arrival at Farmville Detention Center, on June 2, 2020, a detainee was

  identified as having COVID-19 symptoms and taken to a nearby hospital. 35 He tested positive for

  COVID-19. Thereafter, all 74 of the transferred detainees were tested, and 51 of those detainees

  tested positive for COVID-19. 36 While Defendant Crawford contends that these individuals did

  not interact with the rest of the general population, 37 they necessarily interacted with Farmville

  personnel who worked with other detainees at the facility.

          54.     Nor are detainees in detention facilities safe from infection by a virus that originates

  outside the facility itself, in light of the large number of staff, contractors, and vendors who come

  and go on a daily basis. As of July 16, 2020, at least 26 Farmville employees have tested positive

  for COVID-19. 38 Moreover, detention facilities typically are not well-equipped to contain the

  spread of, or to treat inmates or detainees sick with, a hyper-contagious infectious disease like

  COVID-19. According to Teresa Moore, MD, the full-time Medical Director for Farmville,

  although Farmville was initially capable of isolating a detainee in an isolation room as the need

  arose, there are not enough rooms currently to serve this purpose for all at-risk individuals or those

  with positive test results. 39




  33
     Crawford Decl. ¶ 28; Moore Decl. ¶ 15.
  34
     Crawford Decl. ¶ 29.
  35
     Id.
  36
     Id.
  37
     Id.
  38
     See Letter from Sens. Warner and Kaine to Acting Sec’y Wolf and Acting Director Albence,
     supra note 25; see also Crawford Decl. ¶ 45.
  39
     Moore Decl. ¶ 15.


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Case 1:20-cv-00821-LMB-JFA            Document 1         Filed 07/21/20     Page 18 of 48 PageID# 18




         55.     For all of these reasons, conditions at Farmville place immigrant detainees like

  Plaintiffs at risk of infection and severe illness and complications from COVID-19. Like other

  detention facilities, Farmville is an enclosed environment in which contagious diseases spread

  quickly and easily. Detainees live in close quarters and are subject to security measures that make

  it extremely difficult or impossible for them to take the precautionary steps that medical and public

  health officials recommend as a means of guarding against infection. For example, the design and

  operation of Farmville is such that detainees are unable to practice effective (and necessary) social

  distancing. Further, detainees are rarely let outside, and are instead confined indoors in a facility

  with inadequate ventilation. Moreover, they have no control over the movements of the other

  detainees with whom they live in close proximity and share spaces and resources, or the guards

  and other staff at the facility who are themselves potential carriers of the virus.

  III.   DEFENDANTS HAVE ACTIVELY ENDANGERED PLAINTIFFS’ HEALTH AND DENIED
         PLAINTIFFS ADEQUATE MEDICAL CARE

  A.     Plaintiffs Were Exposed To And Contracted COVID-19 While In Defendants’ Care

         56.     Because of Defendants’ failure to take adequate precautions to avoid the spread of

  COVID-19, all four Plaintiffs were exposed to and likely contracted COVID-19 while detained

  at Farmville. Thereafter, Defendants failed to provide them with sufficient medical care, and

  they suffered needlessly as a result.

                 1.      Plaintiff Christian Alberto Santos Garcia

         57.     Defendants have failed to provide Plaintiff Santos Garcia with adequate protection

  from COVID-19 and adequate medical care.

         58.     The federal defendants exposed Plaintiff Santos Garcia to COVID-19 by

  transferring 74 individuals into Farmville from other facilities with active COVID-19 cases.




                                                    18
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20     Page 19 of 48 PageID# 19




          59.     The federal defendants were aware of and did not address the deficiencies in

  medical care that Plaintiff Santos Garcia and other immigration detainees have been experiencing

  throughout the COVID-19 outbreak.

          60.     The Farmville defendants also failed to protect Plaintiff Santos Garcia from

  COVID-19 exposure and infection.

          61.     The Farmville defendants have provided Plaintiff Santos Garcia two reusable cloth

  masks and one N95 mask for the entirety of the COVID-19 crisis. See Exhibit A, Decl. of Christian

  Alberto Santos Garcia (“Santos Garcia Decl.”) ¶ 5.

          62.     Plaintiff Santos Garcia cannot practice social distancing, as the dorm in which he

  is housed with between 50 to 80 other individuals has poor ventilation. Santos Garcia Decl. ¶ 7.

  He sleeps in a bunk bed just inches from his fellow detainees. Id.

          63.     On or around June 21, 2020, Plaintiff Santos Garcia became sick. Santos Garcia

  Decl. ¶ 9. He developed a fever, body aches and pain, and an inability to sleep. Id. Plaintiff

  Santos Garcia reported these symptoms to Farmville personnel, but they failed to provide any

  medical care or COVID-19 testing. Id. ¶ 10. Instead, Farmville personnel told Plaintiff Santos

  Garcia that his dorm (No. 5) was “clean” from the COVID-19 virus.

          64.     In or about that same week, during a routine security count of the detainees,

  Plaintiff Santos Garcia witnessed guards pepper spray detainees who were too weak to stand due

  to illness and exhibiting symptoms consistent with the known symptoms of COVID-19. Santos

  Garcia Decl. ¶ 14. Pepper spray has also been used in several other instances to quell detainees’

  protests of the deplorable conditions to which Defendants are subjecting them. 40 The use of pepper



  40
       See, e.g., Exhibit I, Decl. of Jorge Alexander Rivera Rodriguez, Detainee, Immigration Centers
       of America-Farmville (“Rivera Rodriguez Decl.”) ¶¶ 2, 6–9 (describing deployment of pepper
       spray by Farmville’s Chief Commander Garcia in response to detainees’ expression of


                                                  19
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20     Page 20 of 48 PageID# 20




  spray on sick detained individuals—who in all likelihood have COVID-19—is particularly

  dangerous given that the facility lacks adequate ventilation, 41 and that one of COVID-19’s

  signature symptoms is the inability to breathe properly and maintain sufficient oxygen levels. 42

         65.     Plaintiff Santos Garcia requested medical care on or around June 21, 2020, when

  he first began experiencing COVID-19 symptoms, but he was refused care. Santos Garcia Decl.

  ¶ 10. Plaintiff Santos Garcia asked for medicine during a daily temperature screening, but

  Defendants continued to house Plaintiff Santos Garcia in close quarters with up to 80 of his fellow

  detainees, where, among other things, detainees sleep inches apart from one another. Id.

         66.     Late in the evening of June 23, 2020, approximately two days after he first

  developed COVID-19 symptoms, Plaintiff Santos Garcia received his first dose of Tylenol. Santos

  Garcia Decl. ¶ 16. The Tylenol did not relieve any of his symptoms. Id.

         67.     Also on June 23, 2020, a person who Plaintiff Santos Garcia understood to be an

  ICE official visited his dorm and spoke with the detainees. Santos Garcia Decl. ¶ 17. This official




     concerns about COVID-19 and peaceful refusal to return to their bunks where they would be
     inches apart from one another); Exhibit D, Decl. of Ismael Castillo Gutierrez (“Castillo
     Gutierrez Decl.”) ¶ 15. Cf. Crawford Decl. ¶¶ 32, 35, 42 (noting instances where pepper spray
     was used and Special Operations Unit was deployed).
  41
     See Exhibit J, Decl. of Ashley Warmeling, Managing Attorney, Capital Area Immigrants’
     Right Coalition ¶ 9 (“Several [of my] clients at Farmville have recently expressed increased
     concerns with improper ventilation over the past several days. These clients have shared that
     there are extended periods of time in which there is no air movement, as if the air conditioning
     unit is broken. This lack of air movement has made it difficult for clients to breathe, and
     increases their fears of contracting COVID-19 from other people in their dorm who are
     coughing and showing symptoms.”); see also Exhibit C, Decl. of Gerson Amilcar Perez Garcia
     (“Perez Garcia Decl.”) ¶ 17 (describing “waves of dust blown into [his] cell through the
     vents”); Exhibit K, Decl. of Victor Quintanilla Gallegos (“Quintanilla Gallegos Decl.”) ¶ 36
     (describing dorm as “hot, with no air circulation”).
  42
     CDC, Symptoms of Coronavirus, supra note 5 (listing “[s]hortness of breath or difficulty
     breathing” as symptoms of COVID-19).


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Case 1:20-cv-00821-LMB-JFA            Document 1         Filed 07/21/20   Page 21 of 48 PageID# 21




  told Plaintiff Santos Garcia and others that everyone in the facility would probably be infected

  with COVID-19 but that this would not result in their release. Id.

          68.    On June 24 and 25, 2020, Plaintiff Santos Garcia continued to exhibit COVID-19

  symptoms, including a fever, body pain, and headaches. Santos Garcia Decl. ¶ 18. Though

  Plaintiff Santos Garcia continued to receive Tylenol once every twelve hours, his condition did

  not improve. Id.

          69.    By June 26, 2020, Plaintiff Santos Garcia’s symptoms had only worsened. He

  continued to have a fever, body aches, and a headache. Santos Garcia Decl. ¶ 19. But he also

  developed a cough and had trouble breathing. Id. Yet he continued to receive only Tylenol, was

  never taken to see a doctor, did not receive medicine to help his cough, and did not have his oxygen

  levels monitored by staff despite his difficulty breathing. 43

          70.    On the morning of July 2, 2020, Plaintiff Santos Garcia, along with all of his fellow

  detainees in his dorm, was first tested for COVID-19—approximately 11 days after he started

  exhibiting symptoms. Santos Garcia Decl. ¶¶ 20–21. Farmville personnel did not indicate when

  the test results could be expected, nor did they explain what they planned to do when detainees

  test positive. By then, Plaintiff Santos Garcia’s fever had abated, but he was still exhibiting

  COVID-19 symptoms including cough, body pain, and trouble breathing. Id. ¶ 20.

          71.    On or about July 8, 2020, Plaintiff Santos Garcia was informed by Farmville

  personnel that he and his fellow detainees would not be provided the individual results of their

  COVID-19 tests. Santos Garcia Decl. ¶ 22. The same Farmville representative told Plaintiff

  Santos Garcia that the majority of people in his dorm—Dorm 5—had tested positive. Id. Plaintiff



  43
       Others detainees have also reported that they received only Tylenol while suffering from
       serious COVID-19 symptoms. Castillo Gutierrez Decl. ¶ 13; Exhibit L, Decl. of Francois
       Toure (“Toure Decl.”) ¶¶ 3, 9.


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Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20    Page 22 of 48 PageID# 22




  Santos Garcia also learned that all but a few individuals tested positive in Dorm 4. Id.; see also

  Toure Decl. ¶ 8 (all but “2 or 3 people” in Dorm 4 tested positive for COVID-19).

         72.     That same day, Defendants stopped providing Tylenol or any other form of

  palliative care to Plaintiff Santos Garcia and his fellow detainees. Santos Garcia Decl. ¶ 23.

         73.     Also on or about July 8, 2020, Farmville personnel began informing Plaintiff Santos

  Garcia that ICE planned to transfer a high number of COVID-positive individuals from Farmville

  to another ICE facility in Texas. Santos Garcia Decl. ¶¶ 24, 26.

         74.     In an apparent change of direction, during the evening of July 9, 2020—a full week

  after Plaintiff Santos Garcia was tested—he received news from an ICE official that he had tested

  positive for COVID-19. Santos Garcia Decl. ¶ 25.

         75.     Plaintiff Santos Garcia continues to experience COVID symptoms such as a cough

  and difficulty breathing. Santos Garcia Decl. ¶ 27.

         76.     The same ICE official informed Plaintiff Santos Garcia that the federal defendants

  plan to imminently transfer the majority of individuals, including many if not all COVID-positive

  detainees, to a facility in Texas. Santos Garcia Decl. ¶ 26.

                 2.      Plaintiff Santos Salvador Bolanos Hernandez

         77.     Defendants have failed to provide Plaintiff Bolanos Hernandez with adequate

  protection from COVID-19 and adequate medical care.

         78.     The federal defendants exposed Plaintiff Bolanos Hernandez to COVID-19 by

  transferring 74 individuals into Farmville from other facilities with active COVID-19 cases.

         79.     The federal defendants were aware of and did not address the deficiencies in

  medical care that Plaintiff Bolanos Hernandez and other immigration detainees have been

  experiencing throughout the COVID-19 outbreak.




                                                  22
Case 1:20-cv-00821-LMB-JFA          Document 1        Filed 07/21/20    Page 23 of 48 PageID# 23




         80.    The Farmville defendants failed to protect Plaintiff Bolanos Hernandez against

  COVID-19 exposure and infection.

         81.    Plaintiff Bolanos Hernandez started feeling sick on or about June 20, 2020.

  Exhibit B, Decl. of Santos Salvador Bolanos Hernandez (“Bolanos Hernandez Decl.”) ¶ 5. He

  developed a headache, body aches, and a cough, and believed he had a fever. Id.

         82.    Plaintiff Bolanos Hernandez put in a sick request, but the Farmville defendants did

  not send anyone to see him or give him any medicine for two days. Bolanos Hernandez Decl. ¶ 6.

         83.    Around that same time, Plaintiff Bolanos Hernandez—who is housed in Dorm 1—

  witnessed many fellow detainees fall ill. Bolanos Hernandez Decl. ¶ 6. Others in his dorm were

  exhibiting even worse symptoms, such as vomiting and losing consciousness in addition to a

  cough, fever, and body aches. Id. Despite this, the Farmville defendants delayed checking in on

  any of the detainees in Dorm 1 for days. Id.

         84.    When the Farmville defendants finally attended to Plaintiff Bolanos Hernandez on

  June 22, they took his and others’ temperature by lining them up and pressing their foreheads

  against a glass window without cleaning the glass between temperature readings. Bolanos

  Hernandez Decl. ¶ 7. Farmville staff told people in Plaintiff Bolanos Hernandez’s dorm that they

  would come back later that day with medicine, but they did not. Id.

         85.    That same day, some individuals in Plaintiff Bolanos Hernandez’s dorm refused to

  stand up for their daily count because people were getting sick, were not provided testing or

  medication, and were not given any information about COVID-19. Bolanos Hernandez Decl.

  ¶¶ 9–10. Plaintiff Bolanos Hernandez witnessed guards with guns entering his dorm and “set[ting]

  off some kind of a bomb at the entrance of the dorm.” Id. The guards then took a group of people

  out of the dorm and gave a disciplinary complaint to anyone who wanted to go to the bathroom.




                                                 23
Case 1:20-cv-00821-LMB-JFA              Document 1       Filed 07/21/20    Page 24 of 48 PageID# 24




  Id. The following day, guards did not allow Plaintiff Bolanos Hernandez and others in his dorm

  to use the microwave, watch TV, or use phones, even to call their attorneys. Id. ¶ 11.

          86.     Plaintiff Bolanos Hernandez was not tested for COVID-19 until early July, and he

  still has not received his test results. Bolanos Hernandez Decl. ¶ 12. He received a notice on July

  14 that his test results were still pending. Id. He was tested again on July 16 and continues to wait

  for the test results. Id.

          87.     Despite not getting his test results for COVID-19, Plaintiff Bolanos Hernandez

  started working in the kitchen last week and has witnessed symptomatic people working in the

  kitchen. Bolanos Hernandez Decl. ¶¶ 8, 13.

          88.     Plaintiff Bolanos Hernandez and others in his dorm cannot practice social

  distancing because of the way their dorm is set up and the close proximity of their beds. Bolanos

  Hernandez Decl. ¶ 15. Detainees generally do not wear masks in the dorms. Id. ¶ 16.

          89.     Although Plaintiff Bolanos Hernandez does not have a cough or fever anymore, he

  still suffers from headaches and teeth pain, which he did not have before he started experiencing

  COVID-19 symptoms. Bolanos Hernandez Decl. ¶ 14. More than a month after he first started

  showing symptoms, Plaintiff Bolanos Hernandez is still waiting to find out whether he has

  COVID-19. Id. ¶ 12.

                  3.          Plaintiff Gerson Amilcar Perez Garcia

          90.     Defendants have failed to provide Plaintiff Perez Garcia with adequate protection

  from COVID-19 and adequate medical care.

          91.     The federal defendants exposed Plaintiff Perez Garcia to COVID-19 by transferring

  74 individuals into Farmville from other facilities with active COVID-19 cases.




                                                    24
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20     Page 25 of 48 PageID# 25




         92.     The federal defendants were aware of and did not address the deficiencies in

  medical care that Plaintiff Perez Garcia and other immigration detainees have been experiencing

  throughout the COVID-19 outbreak.

         93.     On June 18, 2020, Plaintiff Perez Garcia developed a bad headache. Perez Garcia

  Decl. ¶ 3. He requested medical attention, but the Farmville defendants refused to provide it.

         94.     By June 20, 2020, Plaintiff Perez Garcia’s headache was worse, and he developed

  a fever, sore throat, persistent cough, body aches, and chills. Perez Garcia Decl. ¶ 3.

         95.     He did not receive medical attention until June 22, 2020, when the staff took his

  temperature and gave him Tylenol twice a day and a few pills for his cough. Perez Garcia Decl.

  ¶ 4. The Tylenol only temporarily reduced Plaintiff Perez Garcia’s fever; it, along with body pains,

  continued to return as the Tylenol wore off. Id.

         96.     Plaintiff Perez Garcia began experiencing diarrhea on June 25, 2020, which

  continued for approximately 10 days. Perez Garcia Decl. ¶ 4. Around this time, he also lost his

  sense of smell and taste. Id. On June 26, 2020, he had a 105 degree fever. Id. ¶ 5. A few days

  later, he had a 102 degree fever. Id. He continued to have a cough, pain in his back where his

  lungs are located, trouble breathing, and nausea. Id. He also felt incredibly weak. Id.

         97.     Defendants failed to give Plaintiff Perez Garcia a COVID-19 test for days; instead

  they kept him in his dorm—Dorm 5—with 50 to 80 people, nearly all of whom were sick, for

  about six days. Perez Garcia Decl. ¶ 6.

         98.     Defendants moved Plaintiff Perez Garcia into isolation on June 24, 2020. Perez

  Garcia Decl. ¶¶ 2, 7. But he wasn’t even truly isolated. Id. ¶ 7. Instead, Farmville staff placed

  Plaintiff Perez Garcia in a room with another man who was even sicker than Plaintiff Perez Garcia.




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Case 1:20-cv-00821-LMB-JFA             Document 1         Filed 07/21/20   Page 26 of 48 PageID# 26




  Id. This individual had a worse cough, and he did not cover his mouth when he coughed. Id. This

  scared Plaintiff Perez Garcia. Id.

         99.      Plaintiff Perez Garcia was finally tested for COVID-19 on June 26, 2020,

  approximately eight days after he started showing symptoms. Perez Garcia Decl. ¶ 7.

         100.     Plaintiff Perez Garcia faced horrible conditions in isolation. His cellmate coughed

  throughout the night and wheezed a lot. Perez Garcia Decl. ¶ 8. His cellmate was so sick that he

  would sometimes cry throughout the night. After hearing his cellmate struggle to breathe, Plaintiff

  Perez Garcia sometimes thought that his cellmate was about to die—this made Plaintiff Perez

  Garcia nervous and scared. Id.

         101.     Farmville staff only gave Plaintiff Perez Garcia and his cellmate Tylenol and two

  blue pills for their cough. Perez Garcia Decl. ¶ 9. This did not help. Id. Plaintiff Perez Garcia

  continued to have breathing issues while in isolation. Id. ¶ 10.

         102.      Farmville staff gave Plaintiff Perez Garcia a brown colored pill for about two days,

  but he did not know what this pill was for, and they stopped giving it to him even though his

  symptoms did not improve. Perez Garcia Decl. ¶ 14. For his diarrhea, Farmville staff gave

  Plaintiff Perez Garcia Gatorade approximately two times to treat dehydration, even though he had

  persistent diarrhea throughout his sickness. Id.

         103.     On June 30, 2020, Defendants took Plaintiff Perez Garcia’s cellmate to the hospital.

  Perez Garcia Decl. ¶ 11. The same day, Plaintiff Perez Garcia learned he had tested positive for

  COVID-19. Id. Defendants refused Plaintiff Perez Garcia’s request to be taken to the hospital.

  Id. ¶¶ 12–13.




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Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20    Page 27 of 48 PageID# 27




          104.    The Farmville defendants have barely monitored Plaintiff Perez Garcia, despite

  isolating him and despite his positive test. Since June 29, 2020, the Farmville defendants only

  gave him medicine and checked on him once a day. Perez Garcia Decl. ¶ 13.

          105.    Also on June 29, 2020, Plaintiff Perez Garcia put in a sick request to talk to a

  psychologist because he was feeling hopeless. Perez Garcia Decl. ¶ 19. Defendants have not

  allowed him to see a psychologist. Id.

          106.    One evening during his stay in isolation, Plaintiff Perez Garcia felt like he could

  not breathe for approximately one hour. Perez Garcia Decl. ¶ 15. He panicked, and he screamed

  to the guards for help while banging on the window of his cell. Id. He did this for about 10 minutes

  when he became so exhausted he had to stop. Id. Screaming like this made his breathing worse.

  Id. Defendants never responded to Plaintiff Perez Garcia’s pleas for help. Id. ¶ 16.

          107.    Even when Plaintiff Perez Garcia can speak to the guards, it is not possible to

  communicate effectively because the guards do not speak Spanish and cannot understand him.

  Perez Garcia Decl. ¶ 16.

          108.    While in isolation, Plaintiff Perez Garcia was denied soap, and so he could not wash

  his hands. Perez Garcia Decl. ¶ 17. Plaintiff Perez Garcia also was forced to go four days without

  a shower. Id.

          109.    Plaintiff Perez Garcia also struggled with severe nausea and for many days was

  unable to keep much food in his system. Perez Garcia Decl. ¶ 18. He has lost forty pounds since

  he first got sick. Id.

          110.    Plaintiff Perez Garcia’s symptoms continued for approximately two weeks. Perez

  Garcia ¶ 13.




                                                   27
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20    Page 28 of 48 PageID# 28




          111.   On July 9, 2020, Plaintiff Perez Garcia was released from isolation and returned to

  Dorm 5. Perez Garcia ¶ 2. While he no longer has a fever, cough, or diarrhea, Plaintiff—to this

  day—continues to suffer from extreme weakness. Id. ¶ 13.

                 4.     Plaintiff Ismael Castillo Gutierrez

          112.   Defendants have failed to provide Plaintiff Castillo Gutierrez with adequate

  protection from COVID-19 and adequate medical care.

          113.   The federal defendants exposed Plaintiff Castillo Gutierrez to COVID-19 by

  transferring 74 individuals into Farmville from other facilities with active COVID-19 cases.

          114.   The federal defendants were aware of and did not address the deficiencies in

  medical care that Plaintiff Castillo Gutierrez and other immigration detainees have been

  experiencing throughout the COVID-19 outbreak.

          115.   The Farmville defendants also failed to adequately protect Plaintiff Castillo

  Gutierrez from COVID-19.

          116.   Plaintiff Castillo Gutierrez is housed in Dorm 7 with about 34 other detainees. See

  Castillo Gutierrez Decl. ¶ 4. He cannot practice social distancing because the detainees in Dorm

  7 live very close together and sleep shoulder-to-shoulder in bunk beds with eight people. Id. ¶ 12.

  He received a mask, but many detainees do not use the masks unless they are going to court. Id.

  ¶ 11.

          117.   Plaintiff Castillo Gutierrez started to feel sick on or about June 30, 2020. See

  Castillo Gutierrez Decl. ¶ 5. He developed a fever, body aches, and lost his senses of taste and

  smell. Id. ¶ 8. He could not sleep because every position he laid in hurt. Id.

          118.   Plaintiff Castillo Gutierrez exhibited these symptoms for at least four days before

  he was tested for COVID-19 on July 4, 2020, along with all of the other detainees in his dorm.




                                                  28
Case 1:20-cv-00821-LMB-JFA            Document 1        Filed 07/21/20      Page 29 of 48 PageID# 29




  Castillo Gutierrez Decl. ¶ 5. On July 7, 2020, he learned that he and everyone in his dorm had

  tested positive for COVID-19. Id.

          119.    For about six days, Plaintiff Castillo Gutierrez received Tylenol twice a day to treat

  his COVID-19 symptoms. Castillo Gutierrez Decl. ¶ 13. However, the infirmary stopped giving

  him Tylenol on July 15, 2020 because they said his treatment had ended, even though he is

  currently experiencing a lot of pain and is having trouble sleeping because of the pain. Id. ¶ 14.

          120.    Although Plaintiff Castillo Gutierrez no longer has a fever, he still has pain in his

  knees, headaches, stomach aches, and trouble sleeping. Castillo Gutierrez Decl. ¶ 10. He did not

  have these issues before he contracted COVID-19. Id. He still has not recovered his senses of

  taste and smell, and he has lost about 12 pounds since he became ill with COVID-19. Id. ¶¶ 8–9.

          121.    Plaintiff Castillo Gutierrez has remained in his dorm with other detainees for the

  entire time he has experienced COVID-19 symptoms. Other detainees in Plaintiff Castillo

  Gutierrez’s dorm are still sick and exhibiting COVID-19 symptoms. Castillo Gutierrez Decl. ¶ 6.

  Some are still coughing, and some still have head aches and body aches. Id.

          122.    On July 1, 2020—shortly after he became ill and before he was tested for

  COVID-19—Plaintiff Castillo Gutierrez was present when guards attacked detainees with pepper

  spray during morning count. Castillo Gutierrez Decl. ¶ 15. Some of the detainees had decided to

  talk to the chief commander to ask for better conditions, more medication, and an explanation of

  what was happening inside the facility. Id. The detainees were feeling sick, had not been tested

  for COVID-19, and did not know what was going on. Id. 44




  44
       See also Rivera Rodriguez Decl. ¶¶ 2, 6–9 (describing deployment of pepper spray by
       Farmville’s Chief Commander Garcia in response to detainees’ expression of concerns about
       COVID-19 and peaceful refusal to return to their bunks where they would be inches apart from
       one another).


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Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20      Page 30 of 48 PageID# 30




         123.    Plaintiff Castillo Gutierrez was in bed because he felt sick, but he saw what

  happened. Castillo Gutierrez Decl. ¶ 15. After the detainees confronted the chief commander, he

  left and came back with more guards. Id. The guards aggressively started to tell people to go back

  to their beds. Id. Someone in the dorm said “violence is not going to fix anything.” Id. He then

  heard that the guards got approval that they could use pepper spray. Id. The guards then proceeded

  to pepper spray the detainees. Id. Plaintiff Castillo Gutierrez believes there was a camera that

  recorded everything that happened. Id.

         124.    Plaintiff Castillo Gutierrez believes that the guards used about four cans of pepper

  spray. Castillo Gutierrez Decl. ¶ 16. One person fainted. Id. They had to take him to the clinic

  and brought him back about two hours later. Id.

         125.    Although Plaintiff Gutierrez was in his bed, he felt the effects of the pepper spray,

  which spread throughout the dorm. Castillo Gutierrez Decl. ¶ 17. His chest hurt because of the

  spray, and he had to put water on his face to relieve the stinging. Id.

         126.    About 14 people were taken to isolation because when guards were pepper spraying

  them, they held up chairs to protect themselves. Castillo Gutierrez Decl. ¶ 18. They are still

  isolated, and the guards have said they will not bring them back. Id.

         127.    Plaintiff Castillo Gutierrez feels as though the guards are trying to intimidate him

  and fellow detainees. Castillo Gutierrez Decl. ¶ 20. A guard once told Plaintiff Castillo Gutierrez

  that he had no rights in detention. Id. He wants this intimidation to stop. Id.

         128.    Plaintiff Castillo Gutierrez’s greatest concern is that he may still have COVID-19

  or that he will get it again. Castillo Gutierrez Decl. ¶¶ 10, 19. He is worried that he may die if he

  does not receive medical care. Id. ¶ 19.




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Case 1:20-cv-00821-LMB-JFA          Document 1         Filed 07/21/20    Page 31 of 48 PageID# 31




                                              *   *    *

          129.   Plaintiffs are not alone in their experiences of being exposed to, contracting, and

  suffering from COVID-19 at Farmville: As of July 20, 2020, 315 current detainees and 26

  employees at Farmville have tested positive for COVID-19. 45

          B.     Plaintiffs Are At Risk Of Reinfection With COVID-19

          130.   Not only are Defendants subjecting Plaintiffs to conditions that jeopardize their

  recovery, but Defendants are also exposing Plaintiffs to the risk of becoming reinfected with

  COVID-19.

          131.   At present, scientists are unable to rule out the possibility that someone who has

  recovered from COVID-19 could become reinfected. “In general, the unknowns of immune

  responses to SARS-CoV-2 currently outweigh the knowns. We do not know how much immunity

  to expect once someone is infected with the virus, we do not know how long that immunity may

  last, and we do not know how many antibodies are needed to mount an effective response.” 46

          132.   A small but growing number of cases suggest that reinfection with COVID-19 is

  possible. There have been recent reports of presumed reinfection among patients who appeared to

  fully recover after their first infection in Colorado, New Jersey, New York, Tennessee, and

  Texas. 47




  45
     ICE, ICE Guidance on COVID-19: ICE Detainee Statistics, supra note 23; Letter from Sens.
     Warner and Kaine to Acting Sec’y Wolf and Acting Director Albence, supra note 25.
  46
     D. Clay Ackerly, My Patient Caught COVID-19 Twice. So Long to Herd Immunity Hopes?,
     VOX (July 12, 2020), https://bit.ly/2BeBGqL.
  47
     See, e.g., Jordan Chavez, Colorado Woman Tests Positive for COVID-19 Twice, 9NEWS (June
     18, 2020), https://bit.ly/3fGJznU; Ackerly, supra note 46; Rich Condit et al., This Week in
     Virology: Do, There Is No Try (July 12, 2020), https://www.microbe.tv/twiv/; CNN Wire,
     Family Furious After 87-year-old Mother Tests Positive Twice for COVID-19, MY FOX8 (July
     4, 2020), https://bit.ly/2ZIulsY; Meredith Yeomans, Dallas Woman Battling Coronavirus,
     Again, NBCDFW (June 15, 2020), https://bit.ly/32DdKbN.


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Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20     Page 32 of 48 PageID# 32




          133.    Additionally, one study published on June 16, 2020 found that 10 percent of nearly

  1,500 COVID-positive patients registered undetectable antibody levels within weeks of first

  showing symptoms. 48 The study’s authors concluded that “after SARS-CoV-2 infection, people

  are unlikely to produce long-lasting protective antibodies against the virus.” 49

          134.    A second study published June 18, 2010 in Nature Medicine found that COVID-19

  patients typically lost their antibodies two to three months after recovering from the infection,

  especially among those who tested positive but were asymptomatic. 50

          135.    The CDC advises, “If you test positive or negative for COVID-19 on a viral or an

  antibody test, you still should take preventative measures to protect yourself and others. We do

  not know yet if people who recover from COVID-19 can get infected again. Scientists are working

  to understand this.” 51

          136.    Even if not reinfected, many people infected with COVID-19 show either extended

  periods of symptoms or recurring bouts of symptoms, worsening dramatically even after they

  appear to have recovered. 52

          C.      Defendants Have Denied Plaintiffs Proper Nutrition While They Suffer From
                  COVID-19

          137.    In addition to denying Plaintiffs adequate medical treatment, Defendants have

  denied Plaintiffs proper nutrition throughout the COVID-19 pandemic, including when they have

  been experiencing COVID-19 symptoms.



  48
     Amanda Heidt, Studies Report Rapid Loss of COVID-19 Antibodies, THE SCIENTIST (June 19,
     2020), https://bit.ly/3jpObAW.
  49
     Id.
  50
     Id.
  51
     CDC, Test for Past Infection (updated June 30, 2020), https://www.cdc.gov/coronavirus/2019-
     ncov/testing/serology-overview.html.
  52
     See, e.g., Ed Yong, COVID-19 Can Last for Several Months, The Atlantic (June 4, 2020),
     https://bit.ly/30t1ZlH.


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Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20   Page 33 of 48 PageID# 33




          138.   For the past few months, Farmville guards, not kitchen staff, have been in charge

  of preparing food at Farmville. Santos Garcia Decl. ¶¶ 11–12. Plaintiff Santos Garcia believes

  that this is due to staffing shortages caused by the COVID-19 pandemic. Id. ¶ 12.

          139.   Plaintiff Bolanos Hernandez is now working in the kitchen despite having exhibited

  COVID-19 symptoms and not yet receiving his COVID-19 test results. Bolanos Hernandez Decl.

  ¶ 13.

          140.   The Farmville defendants now serve Plaintiffs and other detainees inedible food,

  including expired milk, undercooked foods, and uncooked foods, such as raw rice, potatoes, and

  beans. Santos Garcia Decl. ¶ 12; Bolanos Hernandez Decl. ¶ 17; see also Quintanilla Gallegos

  Decl. ¶ 18 (explaining that “[t]he detention center has been feeding [detainees] rotten food,” such

  as “sour milk and rotting apples”). Plaintiff Bolanos Hernandez reports that he has been served

  expired milk around ten times since he has been at Farmville. Bolanos Hernandez Decl. ¶ 17.

          141.   Plaintiff Santos Garcia, Plaintiff Perez Garcia, and other detainees have also found

  bugs in their food. For example, in the last month alone, Plaintiff Santos Garcia has been served

  food with bugs in it on three occasions. Santos Garcia Decl. ¶ 11. And Plaintiff Perez Garcia

  discovered worms in his food as recently as a few days ago.             Perez Garcia Decl. ¶ 35.

  Unfortunately, he did not discover the worms—which were in beans served to him—until he had

  eaten nearly half of his meal. Id. ¶ 24.

                                               *   *    *

          142.   At bottom, Defendants failed to take adequate precautions to protect Plaintiffs and

  other detainees against infection from COVID-19. As a result, Plaintiffs and the vast majority of

  detainees at Farmville have contracted the deadly virus. Defendants have then failed to provide

  adequate medical treatment for Plaintiffs while they have experienced COVID-19 symptoms.




                                                   33
Case 1:20-cv-00821-LMB-JFA             Document 1        Filed 07/21/20     Page 34 of 48 PageID# 34




  Defendants’ continued disregard for the guidance of medical and public health officials and their

  failure to provide Plaintiffs with adequate medical care and nutrition jeopardizes Plaintiffs’

  recovery and makes it more likely that they will become reinfected with COVID-19 or will infect

  others.

                                        CLAIMS FOR RELIEF

                                     FIRST CAUSE OF ACTION

            Violation of the Right to Substantive Due Process Under the Fifth Amendment
                 (Defendants Chad F. Wolf, ICE, Matthew T. Albence, Russell Hott)

            143.   Plaintiffs reallege and incorporate by reference each and every allegation in the

  preceding paragraphs as if set forth fully herein.

            144.   Plaintiffs assert a claim for violations of their Fifth Amendment Due Process rights

  against Defendants Chad F. Wolf, ICE, Matthew T. Albence, Russell Hott (collectively, the

  “federal defendants”).

            145.   The Due Process Clause of the Fifth Amendment to the United States Constitution

  guarantees persons in civil immigration detention the right to reasonable safety and to be free from

  punitive conditions of confinement.

            146.   The federal defendants violate this right to substantive due process when they fail

  to satisfy their affirmative duty to provide conditions of reasonable health and safety to the people

  they hold in their custody, and therefore violate the Constitution when they fail to provide for basic

  human needs—e.g., food, clothing, shelter, medical care, and reasonable safety for those in

  custody.

            147.   The federal defendants also violate the right to substantive due process when, acting

  with deliberate indifference, they subject civil detainees to objectively unreasonable risks to their

  health and safety, to cruel treatment, or to conditions of confinement that amount to punishment.



                                                    34
Case 1:20-cv-00821-LMB-JFA            Document 1        Filed 07/21/20      Page 35 of 48 PageID# 35




         148.    The federal defendants are aware of the serious risk posed by COVID-19 and failed

  to take actions that could adequately protect Plaintiffs from contracting the virus or that would

  allow Plaintiffs to safely recover once they contracted the virus.

         149.    The federal defendants subjected Plaintiffs to an unreasonable risk of contracting

  COVID-19, a potentially lethal disease for which there is no vaccine or cure. Despite knowing the

  substantial risk to Plaintiffs’ and other detainees’ health and safety, the federal defendants have

  disregarded this risk by failing to mitigate or control the risk of exposure to COVID-19 at

  Farmville. The federal defendants have maintained an overcrowded facility which makes it

  impossible for Plaintiffs and other detainees to properly socially distance. The federal defendants

  have also failed to ensure that the Farmville defendants provided Plaintiffs and other detainees

  proper personal protective equipment, promptly tested the detainee population for COVID-19, and

  immediately isolated symptomatic detainees.

         150.    In addition, the federal defendants have exacerbated the risk of COVID-19

  infection by continuing to transfer detainees among detention facilities across the country

  throughout the COVID-19 pandemic, despite CDC guidance warning against such transfers. In

  particular, on June 2, 2020, the federal defendants transferred 74 detainees from detention facilities

  in Arizona and Florida that were experiencing COVID-19 outbreaks to Farmville.                 These

  individuals were not tested, quarantined, or properly screened before their arrival at Farmville, and

  51 of them subsequently tested positive for COVID-19.

         151.    Since Plaintiffs contracted COVID-19, the federal defendants have failed to ensure

  that the Farmville defendants are providing Plaintiffs with adequate medical treatment for their

  symptoms. In so doing, the federal defendants have acted with deliberate indifference to serious

  and irreparable harm.




                                                   35
Case 1:20-cv-00821-LMB-JFA            Document 1        Filed 07/21/20   Page 36 of 48 PageID# 36




          152.   The federal defendants also have failed to ensure that the Farmville defendants are

  providing Plaintiffs and other detainees with adequate, safe nutrition. Instead, they have allowed

  the Farmville defendants to feed Plaintiffs food that was expired, undercooked, and infested with

  bugs.

          153.   The current conditions at Farmville jeopardize Plaintiffs’ recovery from COVID-19

  and increase the risk that Plaintiffs could expose their fellow detainees to COVID-19, thus also

  endangering other detainees’ health and wellbeing. The federal defendants’ actions in failing to

  ensure adequate conditions at Farmville also risk Plaintiffs being reinfected with COVID-19.

          154.   The federal defendants have also acted with deliberate indifference by pressing

  forward with a plan to transfer Plaintiff Santos Garcia and other detainees (potentially including

  other Plaintiffs) while they are still recovering from COVID-19 and likely still COVID-19

  positive.

          155.   The current conditions also increase the chances that Plaintiffs will be reinfected

  with COVID-19.

          156.   By subjecting Plaintiffs to these risks, the federal defendants are maintaining

  detention conditions that amount to punishment and are failing to ensure Plaintiffs’ safety and

  health in violation of Plaintiffs’ substantive due process rights.

          157.   Absent judicial relief in the form of an injunction ordering the federal defendants

  to institute condition reforms, Plaintiffs are suffering—and will continue to suffer—irreparable

  harm.




                                                   36
Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20     Page 37 of 48 PageID# 37




                                   SECOND CAUSE OF ACTION

      Violation of the Right to Substantive Due Process Under the Fourteenth Amendment
                                       Under 42 U.S.C. § 1983
     (Defendants Jeffrey Crawford, Immigration Centers of America, Armor Correctional
                                          Health Services)

         158.     Plaintiffs reallege and incorporate by reference each and every allegation in the

  preceding paragraphs as if set forth fully herein.

         159.     Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violations of Plaintiffs’

  Fourteenth Amendment Due Process rights against Defendants Jeffrey Crawford, Immigration

  Centers of America, Armor Correctional Health Services (collectively, the “Farmville

  defendants”).

         160.     Section 1983 “is not itself a source of substantive rights, but merely provides a

  method for vindicating federal rights elsewhere conferred.” Westmoreland v. Brown, 883 F. Supp.

  67, 71 (E.D. Va. 1995) (quotation marks omitted). To establish liability under Section 1983,

  Plaintiffs must show that the Farmville defendants, acting under color of law, violated Plaintiffs’

  federal constitutional rights, and thereby caused the complained of injury. Coppage v. Mann, 906

  F. Supp. 1025, 1035 (E.D. Va. 1995).

         161.     Here, Defendant ICE contracts with the Town of Farmville, which in turn contracts

  with Defendant ICA, for the operation of Farmville Detention Center. Employees, agents, and

  officers of Defendant ICA, including Defendants Crawford and Armor Correctional Health

  Services, are therefore state or local actors and subject to suit under Section 1983, see Richardson

  v. McKnight, 521 U.S. 399, 413 (1997), independent of whether they may also be considered

  federal actors because they are engaging in the core federal function of civil immigration detention.

         162.     Like the Due Process Clause of the Fifth Amendment, the Due Process Clause of

  the Fourteenth Amendment to the United States Constitution guarantees persons in civil



                                                   37
Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20     Page 38 of 48 PageID# 38




  immigration detention the right to reasonable safety and to be free from punitive conditions of

  confinement.

         163.    The Farmville defendants violate this right to substantive due process when they

  fail to satisfy their affirmative duty to provide conditions of reasonable health and safety to the

  people they hold in their custody, and violate the Constitution when they fail to provide for basic

  human needs—e.g., food, clothing, shelter, medical care, and reasonable safety for those in

  custody.

         164.    The Farmville defendants also violate the right to substantive due process when,

  acting with deliberate indifference, they subject civil detainees to objectively unreasonable risks

  to their health and safety, to cruel treatment, or to conditions of confinement that amount to

  punishment.

         165.    The Farmville defendants are aware of the serious risk posed by COVID-19 and

  failed to take actions that could adequately protect Plaintiffs from contracting the virus or that

  would allow Plaintiffs to safely recover once they contracted the virus.

         166.    The Farmville defendants subjected Plaintiffs to an unreasonable risk of contracting

  COVID-19, a potentially lethal disease for which there is no vaccine or cure. Despite knowing the

  substantial risk to Plaintiffs’ and other detainees’ health and safety, the Farmville defendants have

  disregarded this risk by failing to mitigate or control the risk of exposure to COVID-19 at

  Farmville. The Farmville defendants have maintained an overcrowded facility which makes it

  impossible for Plaintiffs and other detainees to properly socially distance.         The Farmville

  defendants have also failed to provide Plaintiffs and other detainees proper personal protective

  equipment, unreasonably delayed testing the detainee population for COVID 19, and failed to

  isolate symptomatic detainees, including Plaintiffs Santos Garcia, Bolanos-Hernandez, and




                                                   38
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20     Page 39 of 48 PageID# 39




  Castillo Gutierrez. And even though the Farmville defendants ultimately isolated Plaintiff Perez

  Garcia, they waited several days after he exhibited COVID-19 symptoms to do so.

         167.    In addition, the Farmville defendants exacerbated the risk of COVID-19 infection

  by continuing to accept mass transfers of detainees from detention facilities in other parts of the

  country throughout the COVID-19 pandemic, despite CDC guidance warning against such

  transfers, and despite knowing that they do not have the capacity to properly isolate, quarantine,

  or screen incoming people. In particular, on June 2, 2020, the Farmville defendants accepted a

  transfer of 74 detainees from detention facilities in Arizona and Florida that were experiencing

  COVID-19 outbreaks to Farmville. These individuals were not quarantined before their arrival at

  Farmville and were not adequately screened for COVID-19 infection, and 51 of them subsequently

  tested positive for COVID-19.

         168.    Since Plaintiffs contracted COVID-19, the Farmville defendants have failed to

  provide Plaintiffs with adequate medical treatment for their symptoms. In so doing, the Farmville

  defendants have acted with deliberate indifference to serious and irreparable harm.

         169.    The Farmville defendants also have failed to provide Plaintiffs and other detainees

  with adequate, safe nutrition. Instead, they have fed Plaintiffs food that was expired, undercooked,

  and infested with bugs.

         170.    The current conditions at Farmville jeopardize Plaintiffs’ recovery from COVID-19

  and increase the risk that Plaintiffs could expose their fellow detainees to COVID-19, thus also

  endangering other detainees’ health and wellbeing. The Farmville defendants’ actions also risk

  Plaintiffs being reinfected with COVID-19.

         171.    The current conditions also increase the chances that Plaintiffs will be reinfected

  with COVID-19.




                                                  39
Case 1:20-cv-00821-LMB-JFA            Document 1         Filed 07/21/20   Page 40 of 48 PageID# 40




           172.   By subjecting Plaintiffs to these risks, the Farmville defendants are maintaining

  detention conditions that amount to punishment and are failing to ensure Plaintiffs’ safety and

  health in violation of Plaintiffs’ substantive due process rights.

           173.   The Farmville defendants are also subject to suit pursuant to 42 U.S.C. § 1983

  under a theory of municipal liability. See Monell v. Dep’t of Soc. Serv. of City of N.Y., 436 U.S.

  658, 694 (1978). Monell establishes that municipal liability under section 1983 arises where the

  municipality has undertaken an official policy or custom which causes an unconstitutional

  deprivation of the plaintiff’s rights. Id.; see Spell v. McDaniel, 824 F.2d 1380, 1385 (4th Cir.

  1987).

           174.   The Farmville defendants had a policy or custom of deliberate indifference to the

  deprivation of constitutional rights, and this policy or custom caused Plaintiffs’ injury. See

  Westmoreland, 883 F. Supp. at 76 (citing City of Oklahoma City v. Tuttle, 471 U.S. 808, 823

  (1985)). The Farmville defendants also failed to properly train their employees and staff about the

  risks of COVID-19 infections, what medical care is appropriate for preventing and treating

  COVID-19 infections and related injuries, and what nutrition is appropriate for individuals

  detained in Farmville.

           175.   The Farmville defendants’ failure to protect Plaintiffs from exposure to COVID-19

  and failure to provide Plaintiffs with adequate medical care once they were infected constitutes

  official inaction that qualifies as an official policy or custom. See Milligan v. City of Newport

  News, 743 F.2d 227, 229–41 (4th Cir. 1984). This inaction resulted in Plaintiffs suffering from

  COVID-19 and being denied adequate medical care and nutrition in violation of the Fourteenth

  Amendment.




                                                    40
Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20    Page 41 of 48 PageID# 41




          176.   Absent judicial relief in the form of an injunction ordering the Farmville defendants

  to institute condition reforms, Plaintiffs are suffering—and will continue to suffer—irreparable

  harm.

                                    THIRD CAUSE OF ACTION

        Violation of the Right to Substantive Due Process Under the Fifth Amendment
  (Jeffrey Crawford, Immigration Centers of America, Armor Correctional Health Services)


          177.   Plaintiffs reallege and incorporate by reference each and every allegation in the

  preceding paragraphs as if set forth fully herein.

          178.   In the alternative, should this Court find that the Farmville defendants were

  operating solely under color of federal law, Plaintiffs assert a claim for violations of their Fifth

  Amendment due process rights against the Farmville defendants.

          179.   The Due Process Clauses of the Fifth Amendment to the United States Constitution

  guarantees persons in civil immigration detention the right to reasonable safety and to be free from

  punitive conditions of confinement.

          180.   The Farmville defendants violate this right to substantive due process when they

  fail to satisfy their affirmative duty to provide conditions of reasonable health and safety to the

  people they hold in their custody, and violate the Constitution when they fail to provide for basic

  human needs—e.g., food, clothing, shelter, medical care, and reasonable safety for those in

  custody.

          181.   The Farmville defendants also violate the right to substantive due process when,

  acting with deliberate indifference, they subject civil detainees to objectively unreasonable risks

  to their health and safety, to cruel treatment, or to conditions of confinement that amount to

  punishment.




                                                   41
Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20     Page 42 of 48 PageID# 42




         182.    The Farmville defendants are aware of the serious risk posed by COVID-19 and

  failed to take actions that could adequately protect Plaintiffs from contracting the virus or that

  would allow Plaintiffs to safely recover once they contracted the virus.

         183.    The Farmville defendants subjected Plaintiffs to an unreasonable risk of contracting

  COVID-19, a potentially lethal disease for which there is no vaccine or cure. Despite knowing the

  substantial risk to Plaintiffs’ and other detainees’ health and safety, the Farmville defendants have

  disregarded this risk by failing to mitigate or control the risk of exposure to COVID-19 at

  Farmville. The Farmville defendants have maintained an overcrowded facility which makes it

  impossible for Plaintiffs and other detainees to properly socially distance.         The Farmville

  defendants also failed to provide Plaintiffs and other detainees proper personal protective

  equipment, unreasonably delayed testing the detainee population for COVID-19, and failed to

  isolate symptomatic detainees, including Plaintiffs Santos Garcia, Bolanos-Hernandez, and

  Castillo Gutierrez. And even though the Farmville defendants ultimately isolated Plaintiff Perez

  Garcia, they waited several days after he exhibited COVID-19 symptoms to do so.

         184.    In addition, the Farmville defendants have continued to accept mass transfers of

  detainees from detention facilities in other parts of the country throughout the COVID-19

  pandemic, despite CDC guidance warning against such transfers, and despite knowing that they

  do not have the capacity to properly isolate, quarantine, or screen incoming people. In particular,

  on June 2, 2020, the Farmville defendants accepted a transfer of 74 detainees from detention

  facilities in Arizona and Florida that were experiencing COVID-19 outbreaks to Farmville. These

  individuals were not quarantined before their arrival at Farmville and were not adequately screened

  for COVID-19 infection, and 51 of them subsequently tested positive for COVID-19.




                                                   42
Case 1:20-cv-00821-LMB-JFA            Document 1         Filed 07/21/20   Page 43 of 48 PageID# 43




          185.   Since Plaintiffs contracted COVID-19, the Farmville defendants have failed to

  provide Plaintiffs with adequate medical treatment for their symptoms. In so doing, the Farmville

  defendants have acted with deliberate indifference to serious and irreparable harm.

          186.   The Farmville defendants also have failed to provide Plaintiffs and other detainees

  with adequate, safe nutrition. Instead, they have fed Plaintiffs food that was expired, undercooked,

  and infested with bugs.

          187.   The current conditions at Farmville jeopardize Plaintiffs’ recovery from COVID-19

  and increase the risk that Plaintiffs could expose their fellow detainees to COVID-19, thus also

  endangering other detainees’ health and wellbeing. The Farmville defendants’ actions also risk

  Plaintiffs being reinfected with COVID-19.

          188.   The current conditions also increase the chances that Plaintiffs will be reinfected

  with COVID-19.

          189.   By subjecting Plaintiffs to these risks, the Farmville defendants are maintaining

  detention conditions that amount to punishment and are failing to ensure Plaintiffs’ safety and

  health in violation of Plaintiffs’ substantive due process rights.

          190.   Absent judicial relief in the form of an injunction ordering the Farmville defendants

  to institute condition reforms, Plaintiffs are suffering—and will continue to suffer—irreparable

  harm.




                                                    43
Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20   Page 44 of 48 PageID# 44




                                  FOURTH CAUSE OF ACTION

                         Violation of the Administrative Procedure Act
                (Defendants Chad F. Wolf, ICE, Matthew T. Albence, Russell Hott)

         191.    Plaintiffs reallege and incorporate by reference each and every allegation in the

  preceding paragraphs as if set forth fully herein.

         192.    The APA provides that a “person suffering legal wrong because of agency action,

  or adversely affected or aggrieved by agency action within the meaning of a relevant statute, is

  entitled to judicial review thereof.” 5 U.S.C. § 702.

         193.    Under the APA, a court “shall” “hold unlawful and set aside agency action,

  findings, and conclusions found to be” “arbitrary, capricious, an abuse of discretion, or otherwise

  not in accordance with law” or “contrary to constitutional right.” 5 U.S.C. § 706(2)(A), (B).

         194.    The PBNDS apply at all ICE-dedicated civil detention facilities, including

  Farmville.

         195.    The PBNDS set mandates for medical care and food services, and require detention

  facilities to adhere to CDC guidelines and recommendations for prevention and control of

  infectious diseases.

         196.    The federal defendants have failed to ensure that the Farmville defendants follow

  the PBNDS mandates for providing medical care. Farmville detainees such as Plaintiffs do not

  have access to appropriate medical care. The federal defendants have allowed the Farmville

  defendants to conduct inadequate testing, to implement insufficient precautions to prevent a

  rampant COVID-19 outbreak, and to provide inappropriate treatment and isolation to address the

  health risks that have spread throughout the facility.

         197.    The federal defendants have also failed to ensure that the Farmville defendants

  follow the PBNDS mandates for providing food services. Plaintiffs are being served food by the



                                                   44
Case 1:20-cv-00821-LMB-JFA           Document 1        Filed 07/21/20     Page 45 of 48 PageID# 45




  Farmville defendants that is not sanitary or nutritious. To the contrary, the food is often expired,

  undercooked, and infested with bugs.

         198.    The federal defendants have also failed to ensure that the Farmville defendants have

  followed the PBNDS mandates to adhere to CDC guidelines and recommendations for prevention

  and control of COVID-19. Farmville defendants have failed to follow the PBNDS mandates, and,

  as a result, individuals in the facility are not appropriately distanced, they remain packed densely

  in dorm rooms, and they do not have sufficient personal protective equipment—all contrary to

  CDC’s guidelines for managing the COVID-19 pandemic.

         199.    In addition, the federal defendants have failed to follow the PBNDS mandates to

  adhere to CDC guidelines and recommendations for prevention and control of COVID-19 and

  exacerbated the risk of COVID-19 infection by continuing to transfer detainees among detention

  facilities across the country throughout the COVID-19 pandemic, despite CDC guidance warning

  against such transfers. In particular, on June 2, 2020, the federal defendants transferred 74

  detainees from detention facilities in Arizona and Florida that were experiencing COVID-19

  outbreaks to Farmville. These individuals were not tested, quarantined, or properly screened

  before their arrival at Farmville, and 51 of them subsequently tested positive for COVID-19.

         200.    The federal defendants’ failure to follow the PBNDS and failure to ensure that the

  Farmville defendants follow the PBNDS is unlawful agency action.

         201.    Plaintiffs are prejudiced by the federal defendants’ failure to follow the PBNDS

  and failure to ensure that the Farmville defendants follow the PBNDS. Plaintiffs have suffered

  and will continue to suffer irreparable injury because of this failure to follow the PBNDS.




                                                  45
Case 1:20-cv-00821-LMB-JFA           Document 1         Filed 07/21/20      Page 46 of 48 PageID# 46




                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray that this Court grant the following relief:

          A.      Enter a declaration that Defendants’ conduct violates the Fifth and Fourteenth

  Amendments to the United States Constitution and the APA and is therefore unlawful.

          B.      Issue an injunction ordering Defendants to immediately reform conditions by

  instituting the following:

                      a. Submitting to a third-party inspection, at Defendants’ expense, of the

                         facility’s COVID-19 mitigation efforts, medical care plan, and food supply

                         and preparation regimen; 53

                      b. Creating a plan, to be immediately submitted to the Court and overseen by

                         a qualified public health expert, outlining specific mitigation efforts, in line

                         with CDC guidelines to prevent, to the degree possible, contraction of

                         COVID-19;

                      c. Creating a plan, to be immediately submitted to the Court and overseen by

                         a qualified public health expert, outlining specific efforts to provide proper

                         medical care to detainees infected with COVID-19;

                      d. Creating a plan, to be immediately submitted to the Court and overseen by

                         a qualified public health expert, outlining specific efforts to provide proper

                         nutrition to Plaintiffs and other detainees housed at Farmville;

          C.      Issue an injunction ordering Defendants to abide by CDC guidelines and

  recommendations for prevention and control of infectious diseases, including by:


  53
       Plaintiffs respectfully provide for the Court’s consideration the declaration of Dr. Homer D.
       Venters, MD, who has extensive experience working on COVID-19 responses in detention
       settings, which outlines a proposed methodology for a third-party inspection of Farmville. See
       Venters Decl. ¶¶ 5, 16-21 (describing proposed methods for proposed third-party inspection).


                                                   46
Case 1:20-cv-00821-LMB-JFA            Document 1         Filed 07/21/20     Page 47 of 48 PageID# 47




                       a. Prohibiting all transfers into and out of Farmville Detention Center, and

                          specifically prohibiting Plaintiffs’ transfer out of Farmville to another

                          detention facility, until Defendants can demonstrate that such transfer will

                          not endanger Plaintiffs or others’ health and abides by CDC guidelines;

                       b. Instituting appropriate social-distancing measures throughout the facility;

                       c. Providing all detainees with adequate personal protective equipment,

                          including sufficient effective masks, soap, and hand sanitizer;

          D.     Issue an injunction prohibiting Defendants, their subordinates, agents, employees,

  and all others acting in concert with them from retaliating against Plaintiffs for having brought this

  suit;

          E.     Retain jurisdiction and monitor Defendants’ compliance with the above

  requirements by ordering Defendants to regularly update the Court of its progress implementing

  the Court’s order;

          F.     Award Plaintiffs their reasonable attorneys’ fees and costs in this action as provided

  for by the Equal Access to Justice Act, 28 U.S.C. § 2412, or under 42 U.S.C. § 1988(b), or any

  other statute; and

          G.     Any other and further relief that this Court deems just, equitable, and proper.




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Case 1:20-cv-00821-LMB-JFA          Document 1        Filed 07/21/20    Page 48 of 48 PageID# 48




  Dated: July 21, 2020                        Respectfully submitted,

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                                                 48
